UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

C.A. No. 1:20-CV-10484-GAO

 

EDWARD SULLIVAN, HEATHER SULLIVAN,
SS, TS, CS, and BS,1
Plaintiffs,

Vv.

TOWN OF WALPOLE, MA, WALPOLE POLICE
DEPARTMENT, CHIEF JOHN F. CARMICHAEL, JR.,
OFFICER ANDREW KIEWLICZ, DET. MICHAEL
BENNER, DET. SGT. RICHARD KELLEHER,
OFFICER THOMAS HART, DET. KYLE GRIFFIN,
OFFICER MATTHEW CROWN, AND OTHER NAMES
UNKNOWN TO THE PLAINTIFFS AT THIS TIME,
WALPOLE SCHOOL DEPARTMENT, VICE
PRINCIPAL LEE TOBEY, AND OTHERS AS YET
UNKNOWN TO THE PLAINTIFFS,

Defendants.

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PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
DEFENDANTS’ MOTION FOR JUDGMENT ON THE
PLEADINGS UNDER RULE 12(c)
Plaintiffs in the above-captioned case respectfully submit this Memorandum of Law in
Opposition to Defendants’ Motion for Judgment on the Pleadings Under Rule 12(c).
I. INTRODUCTION
This is a civil rights action brought by the plaintiffs Edward Sullivan, Heather Sullivan,
individually, and as legal guardians on behalf of their children SS, CS, TS, and BS. On October
25, 2018, Edward Sullivan was wrongfully arrested by officers of the Walpole Police

Department with no evidence that he had committed a crime, was committing a crime or was

about to commit a crime. Along with his arrest, his children: SS (age 15), CS (age 8) and BS

 

1 In their Motion for Judgment, Defendants changed the caption to remove the names of the minor Plaintiff children.
Plaintiffs have changed the caption to make it easier to refer to the individual children. Plaintiffs have also added
the names of Officer John Thayer and Det. Ian Tolland and removed the reference to other names unknown.
(age 5) were unlawfully detained at their schools while TS (age 12) was detained at a friend’s
house. (Compl. 44 18, 27.)
I. STANDARD OF REVIEW

When deciding a motion to dismiss, the court must accept the material facts alleged in the
complaint as true, draw all reasonable inferences in favor of the plaintiffs, and determine whether
it is conceivable that plaintiffs have a legitimate claim for relief. Ashcroft v. Iqbal, 556 U.S. 662,
678-79 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56 (2007); Leeds v. Meltz, 85 F.3d
51, 53 (2d Cir. 1996). Under Twombly, “[flactual allegations must be enough to raise a right to
relief above the speculative level,” and state a cause of action with enough weight to “show[]
entitlement to relief’ and “enough facts to state a claim to relief that is plausible on its face.”
550 U.S. at 555, 570 (emphasis added). Plausibility at the pleading stage is distinct from
probability, and “a well-pleaded complaint may proceed even if it strikes a savvy judge that
actual proof of [the claims] is improbable, and... recovery is very remote and unlikely.” /d. at
556 (quotation marks omitted). The complaint should be dismissed only “if the pleading shows
no set of facts which could entitle plaintiff to relief.” Zona v. Clark Univ., 436 F. Supp. 2d 287,
288 (D. Mass. 2006).
Il. ARGUMENT

A. Violation of the Plaintiffs’ Rights Under 42 U.S.C. § 1983

I. False Arrest of Edward Sullivan

The standard for probable cause to arrest is “whether at that moment [of arrest by
officers] the facts and circumstances within their knowledge and of which they had reasonably
trustworthy information were sufficient to warrant a prudent man in believing that the [plaintiff]
had committed or was committing an offense.” Bertram y. Viglis, 2020 WL 1892187, *4 (D.

Mass. 2020) quoting Beck v. State of Ohio, 379 U.S. 89, 91 (1964); Roche v. John Hancock Mut.
Life Ins. Co., 81 F.3d 249, 254 (1st. Cir. 1996).

The First Circuit has recognized that “information furnished by a victim is generally
considered sufficiently reliable to support a finding of probable cause.” Holder v. Town of
Sandown, 585 F.3d 500, 505 (1st Cir. 2009). Here the alleged victim is Sullivan’s daughter, SS.
She emphatically furnished the Vice Principal, Officers Benner and Kiewlicz, and DCF
representative David Skutul with the same information — her father did not strike her in the face
causing the bruising on her cheeks. (Compl. {J 25-26.) All of these individuals chose not to
believe her and instead chose to believe the hearsay story of another student with whom SS is not
friendly. (Compl. { 18.) Additionally, the three other Sullivan children told the interrogating
officers that their father did not hit them. Based on the information provided by SS and
Sullivan’s other children, there was no probable cause to arrest Mr. Sullivan. 2

2. Detainment of the Four Sullivan Children
The unreasonable detainment of the four Sullivan children violated their rights to be free
from seizures under 42 U.S.C. § 1983. They were seized by a frightening display of police
authority in the persons of Defendants Kiewlicz and Benner. They were detained in three
different locations for hours. They were interrogated by DCF without understanding why. They
were kept from their parents for hours and were frightened for themselves and their parents. The
experience has traumatized the children and completely disrupted their lives.

Defendants Kiewlicz and Benner responded to Walpole High School following a report

made to Defendant Kelleher. (Compl. § 25.) Defendant Tobey told Kiewlicz and Benner the

hearsay story she had heard from 15-year-old student, KC. Tobey then told them SS’s story that

 

2 It is also well known that the Walpole Police Department has a long history of aggressive policing and other
issues. Some of these issues include: rushing to judgment and prematurely arresting individuals, see Edmund Burke
v. Town of Walpole, 405 F.3d 66 (Ist Cir. 2005), officers stealing from the police evidence locker and a local
supermarket, racially profiling an innocent black man in 2016, and committing indecent assault and battery (Deputy
Police Chief Christopher Mackenzie) in 2020. The arrest of Mr. Sullivan without probable cause is just another
example of the issues facing the Walpole Police.
her 7-year-old brother, with whom she shares a room, fell out of bed and hit her in the face.
(Compl. {| 22.). For some unknown reason, these Defendants chose to believe the hearsay story
rather than the truth from the victim. SS was then questioned extensively and repeatedly by DCF
officer David Skutul, Kiewlicz and Benner. (Compl. § 26.) During this interrogation, SS
adamantly denied ever being assaulted by her father. /d. This led to the violation of the
children’s right to be free from unnecessary seizures under 42 U.S.C. § 1983.

Defendants argue that the “express purpose of the DCF investigation was to protect the
health and safety of the children by ensuring they were not returned to an abusive environment.”
(Defts. Memo p. 10.) They also state that when an “emergency response” is begun, the initial
priority of the DCF “is to view the child(ren) in question and to determine the condition of any
other children residing in the same household.” (Id. fn. 3.) In their overzealousness, Defendants
Tobey, Kiewlicz and Benner failed to note that there was no emergency or exigent circumstances
that required such a strong response. They neglected to consider the harm that such a response
would cause to four minor children especially when the viewing of the children by DCF could
have occurred in the comfort of their own home pursuant to 110 CMR 4.26(1).

B. Violation of Mass. Gen. Laws ch. 12, § 111

Edward Sullivan’s false arrest by Defendants Tolland and Crown violated Mass. Gen.
Laws ch. 12, § 111 because there was no probable cause to arrest him. The basis for all claims is
the necessity that the arrest be supported by probable cause. Felix v. Lugas, 2004 WL 1775994
at *2 n.6 (D. Mass. 2004). [MUCH IS THE SAME AS 1983 CLAIM]

i Violation of Family Integrity Rights

Due Process Clause of 14" Amendment
The defendant’s not only separated the Sullivan’s minor children from each other and

their parents with no justification, they placed one of the minor children, TS who had
already left school and gone to the home of a friend at 76 Broad Street in Walpole in
the custody of a civilian with no rights, obligations or duty concerning TS. Detective
Kyle Griffin went to that address and instructed the homeowner, Brian Greeley, to
keep TS at his home until told otherwise by the police. Mr. Greeley complied. The
Detective provides no explanation for this egregious dereliction of his duty. He gives
no indication that the person he instructed to unlawfully detain TS was known to him
or not. This outrageous action by the Detective not only placed a vulnerable minor in
potential danger but has also caused the minor child and her entire family
immeasurable distress, shame, anxiety and humiliation.

No exigent circumstance existed requiring the detention of the four children at school
and a friend’s home. No life was endangered and there were no serious injuries
suspected or inflicted. The children could have been interviewed at home at any time
with at least their mother present rather than in the intimidating present of police
officers, DCF and Vice Principals. Edward Sullivan could also have been
interviewed at home rather than taken to the police station.

D. Defendants Carmichael, Kiewlicz, Benner, Kelleher, Hart, Griffin, Crown,
Thayer, and Tolland Are Not Protected By Qualified Immunity

Under the First Circuit’s analysis, Defendants Carmichael, Kiewlicz, Benner, Hart,
Griffin, Crown, Thayer and Tolland, who are sued in their official capacities, are not eligible for
qualified immunity. There is a two-step analysis for qualified immunity. The court must decide
“(1) whether the facts alleged or shown by the plaintiff make out a violation of a constitutional
right; and (2) if so, whether the right was clearly established at the time of the defendant’s
alleged violation.” Maldonado v. Fontanes, 568 F.3d 263, 269 (2009) (internal quotes omitted).
In addition, there are two aspects to the clearly established step of the qualified immunity

analysis. Aspect one concentrates on the clarity of the law when the alleged civil rights violation
occurred. “The contours of the right must be sufficiently clear that a reasonable official would
understand that what he is doing violates that right.” Anderson v. Creighton, 483 U.S. 635, 640
(1987). The second aspect concentrates more on the case’s facts and if a reasonable defendant
would know that his actions violated the plaintiff's constitutional rights. “The salient question is
whether the state of the law at the time of the alleged violation gave the defendant fair warning
that his particular conduct was unconstitutional.” Maldonado, 568 F.3d at 269.

Defendants Carmichael, Kiewlicz, Benner, Hart, Griffin, Crown, Thayer and Tolland,
violated the constitutional rights of plaintiffs by unlawfully detaining the four minor children, the
unlawful arrest of Edward Sullivan and by preventing the minor children access to their mother
in the absence of any lawful justification all in violation of plaintiffs clearly defined and well
settled constitutional rights while acting under color of law. Specifically, the defendants denied
all plaintiffs the rights guaranteed them by the United States Constitution, specifically but not
limited to, under their Fourth Amendment rights to be free from unlawful restraint of their person
and their Fifth and Fourteenth Amendment rights to due process of law.

E. Tobey is Not Immune from Liability Based on Her Rush to Judgment

In order to avoid liability, Tobey’s report must have been made in good faith and not be
frivolous. Mass. Gen. Laws ch. 119, § 51A(g). However, Tobey’s report was not made in good
faith. Tobey interviewed SS who denied the accusation made by a fellow student, someone with
whom she is not friendly and in whom she would never confide. (Comp., 19.) There was no
history of any abuse problems with SS or her family. Yet, for some reason, Tobey chose to
believe the reporting student rather than SS. Pursuant to Mass. Gen. Laws ch. 119, § 51A(a),
Tobey had the choice to only notify the Department of Child and Family Services and not the
police. She also could have chosen to believe SS and wait to see if there were any future issues.

No exigent circumstances existed requiring the detention of SS. SS told her that her bruising
was caused by her younger brother falling out of bed and dropping a water bottle on her.
(Compl., {| 22). Instead she chose to believe hearsay from a 15-year-old reporter with no first-
hand knowledge over the explanation provided by the alleged victim.

This situation would be quite different if Tobey had simply reported her suspicions to
DCF and left the police out of the equation. Mass. Gen. Laws ch. 119, § 51B requires that an
investigation by DCF shall include: (i) a home visit at which the child is viewed, if appropriate;
(i1) a determination of the nature, extent and cause or causes of the injuries; (iii) the identity of
the person or persons responsible therefore; (iv) the name, age and condition of other children in
the same household; (v) an evaluation of the parents and the home environment; and (vi) all
other pertinent facts or matters. The mental harm suffered by the Sullivan children and the
destruction wrought in their lives by the events of October 25, 2018 is immeasurable.

F, Intentional Infliction of Emotional Distress

The Defendants Tolland and Crown should have known that their overly aggressive and
unnecessary arrest of Edward Sullivan would cause him and his family emotional distress. Mr.
Sullivan is an upstanding citizen of Walpole with no criminal history or prior history of abusing
his children. Arresting Mr. Sullivan with no evidence other than a 15-year-old child’s hearsay
reporting was extreme and outrageous. Mr. Sullivan denied ever abusing his daughter SS or any
of his other children. SS denied ever being struck by Mr. Sullivan as did his other children.

The arrest of Mr. Sullivan caused him great emotional distress. It has led to attacks
against the family on social media, the loss of his soccer coaching job, and embarrassment in the
community. See /.U. by Roy v. Pioneer Valley Chinese Immigration Charter Schl., 2016 WL
8679257, *4 (D. Mass, 2016) (citations omitted). The court should “put as harsh a face on the
[defendant’s actions] as the basic facts would reasonably allow.” /d. at *4, quoting Roman v.

Trustees of Tufis College, 964 N.E.2d 331, 341-42 (Mass. 2012) (alteration in original). The
entire Sullivan family is now in therapy, the children are now in private school and the family is
selling their house in Walpole. Edward and Heather Sullivan are in therapy as they are
experiencing anxiety and depression as they deal with all of the issues facing their children and
family caused by the intentional acts of Tolland, Crown ,Kiewlicz, Benner, and Tobey.

The unnecessary detention and interrogation of the children by the Defendants Kiewlicz,
Benner and Tobey has also traumatized the children. SS, TS, and CS have all been diagnosed
with Post-Traumatic Stress Disorder (PTSD). All four children have a real fear of and animosity
towards the police. BS, the youngest, is terrified of police officers. SS has anxiety, depression
and an eating disorder causing her to gain weight. TS also suffers from anxiety.

G. Claims Against Walpole Police Department and Walpole School Department

Plaintiffs agree that their claims against the Walpole Police Department and the Walpole

School Department should be eliminated.
IV. CONCLUSION
WHEREFORE, for the reasons stated above, the Plaintiffs respectfully request that

Defendants’ Motion for Judgment on the Pleadings Under Rule 12(c) be denied.

Respectfully submitted,
For the Plaintiffs,

By their attorneys,

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Dated: March 18, 2021
Certificate of Service
I hereby certify that the foregoing, filed through the Electronic Case Filing System, will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing

and that a paper copy shall be served upon those indicated as non- arepisiee ed participants on
March 18, 2021.

 
